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                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




    UNITED STATES OF AMERICA,             No. CR 07-1080-13 DSF
        Plaintiff,
                                          ORDER RE MOTION FOR
                     v.                   COMPASSIONATE RELEASE
                                          PURSUANT TO 18 U.S.C. §
    ALFONSO GARCIA,                       3582(c)(1)
        Defendant.



       Defendant Alfonso Garcia renews his motion for compassionate
    release pursuant to 18 U.S.C. § 3582(c)(1). The government opposes
    the motion.

       Defense counsel asserts that the warden has approved Garcia’s
    release. The government notes that there are several more layers of
    review that follow a warden’s endorsement of release. Under the
    circumstances, including the improvement of conditions at FMC-
    Rochester since the filing of this motion and the fact that Garcia will
    likely soon be fully vaccinated, it appears appropriate for the Court to
    defer to the Bureau of Prisons’ process. The parties are ordered to
    submit a joint status report on later than June 28, 2021.



          IT IS SO ORDERED.

    Date: April 26, 2021                 ___________________________
                                         Dale S. Fischer
                                         United States District Judge
